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Civil Action No. 18-cv-01684-ESH

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (Q)

This summons for (name of individual and title, ifany) Executive Office of the Mayor of the District of Columbia
was received by me on (date) July 19, 2018

© I personally served the summons on the individual at (place)

on (date) Sor

© I left the summons at the individual's residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or

OC | served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)

on (dare) ,or

© | returned the summons unexecuted because ; or
Ng Other (specify | served an additional copy of this summons on the Office of the Attorney General pursuant to D.C.

Super. Ct. R. Civ. P. 4(j)(E), which was accepted by Gayle Rivers, Staff Assistant, at approximately
2:20pm on July 25, 2018.

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: August 14, 2018

Elaine Stamp
Paralegal

ACLU Foundation of the District of Columbia
Printed name and title

Server's signature

ACLU Foundation of the District of Columbia
915 15th St. NW, 2nd Floor
Washington D.C. 20005

Server 's address

Additional information regarding attempted service, etc:
